              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                               1:11 CR 81-2


UNITED STATES OF AMERICA                        )
                                                )
Vs.                                             )            ORDER
                                                )
ELVIS PEGUERO PENA.                             )
__________________________________              )


        THIS MATTER has come before the undersigned, pursuant to a motion filed

by counsel for defendant entitled “Motion to Suppress" (#28). Defendant’s counsel

did not file a brief or memorandum of law. LCrR 47.1(C) states as follows:

        Requirements of Briefs. Brief shall be filed contemporaneously with
        any potentially dispositive pretrial or post-trial motion submitted in a
        criminal action.


        The arraignment order (#15) entered in this matter provides as follows:

        7. All other pretrial motions: Those specified by Rule 12(b)(1), (2),
        (3), and (4), Fed. R.Crim. P, must be filed no later than thirty (30) days
        from the date this order is filed and accompanied by a supporting
        memorandum of law.

        Due to the fact that defendant did not comply with the LCrR 47.1(C) nor

paragraph 7 of the arraignment order, the Motion to Suppress will be denied without

prejudice. Defendant will be allowed to file another Motion to Suppress along with

a supporting affidavit and brief or memorandum of law on or before December 9,

2011.



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                                 ORDER

     IT IS, THEREFORE, ORDERED that the “Motion to Suppress” (#28) is

DENIED without prejudice. Defendant will be allowed to file a new Motion to

suppress along with a brief or supporting memorandum of law on or before

December 9, 2011.

                                     Signed: November 23, 2011




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